                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION
                                            )
In re:         Gonzalez, Jose Mejia         )
                                            )
               (and others)                 )        09 B 16144
                                            )        (and others)
                      Debtor(s),            )
                                            )


                  Trustee’s Report of Deposit of Unclaimed Property

       Now comes Tom Vaughn, Chapter 13 Standing Trustee, pursuant to 11 U.S.C.
§347 and Rule 3001 of the Federal Rules of Bankruptcy Procedure, and provides the
following report of Trustee’s deposit of unclaimed property with the Clerk of the
Bankruptcy Court:

    1. The Standing Trustee has been duly appointed, qualified and continues to serve in
       the cases listed on the attached Exhibit A.

    2. In the furtherance of his duties, the Standing Trustee has mailed checks payable
       on funds received as payments under a Chapter 13 plan to the parties referenced
       on Exhibit A.

    3. Reasonable attempts have been made to locate those parties referenced on Exhibit
       A without success.

    4. By reason of the foregoing, the Standing Trustee has deposited these unclaimed
       funds by payment of same to the Clerk of the Bankruptcy Court, check number
       1185703, pursuant to §347 of the Bankruptcy Code.



                                                Respectfully Submitted;




                                                /s/ Tom Vaughn      __________
                                                Tom Vaughn, Chapter 13 Trustee




10/14/15
